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7                               UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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9
     In re: JEFFREY E. DEWEESE,                    Case No. 19-30625 HLB13
10         dba Jeffrey E. DeWeese, MD,             Chapter 13
                               Debtor,             NOTICE OF OPPORTUNITY FOR HEARING
11
                                                   TO OBJECT TO CONFIRMATION OF
12
                                                   SECOND AMENDED CHAPTER 13 PLAN
     ____________________________/
13
            TO CHAPTER 13 TRUSTEE, CREDITORS, AND ALL INTERESTED PARTIES:
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            NOTICE IS HEREBY GIVEN that the above Debtor has filed the attached Amended
15
     Chapter 13 Plan [“Plan”] on August 7, 2019. You have been notified that pursuant to
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     Bankruptcy Rule 2002 and Local Rule 9014-1, you have twenty-eight (28) days from the date of
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18   service of this notice to object to the Plan. Any such objection must be (1) filed with Clerk of

19   the United States Bankruptcy Court located at 450 Golden Gate Avenue, Mail Box 36099, San
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     Francisco, California 94102, and shall be served upon David Burchard, Chapter 13 Trustee, PO
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     Box 8059, Foster City, California 94404 and Debtor’s attorney at above address, and (2) be
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     accompanied by any declaration and/or memoranda of points and authorities that the requesting
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24
     party wishes to present in support its position. If an objection is timely made, a hearing date to

25   be set and a notice will be given of a hearing date to objecting party and the Chapter 13 Trustee.

26   If the objection is not timely made, the Court may enter an Order Confirming Plan.
27
     Dated: August 7, 2019                            /s/ Badma Gutchinov
28                                                    Badma Gutchinov, Esq.
                                                      Attorney for Debtor
     NOTICE OF PLAN                                   1
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